Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 1 of 18 Page ID #:2607




     1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
       David Perlson (Bar No. 209502)       Lance Yang (Bar No. 260705)
     2 davidperlson@quinnemanuel.com        lanceyang@quinnemanuel.com
     3 Andrew   Holmes   (Bar  No. 260475)  Valerie Lozano (Bar No. 260020)
       drewholmes@quinnemanuel.com          valerielozano@quinnemanuel.com
     4 50 California  Street, 22nd Floor    865 S. Figueroa St., 10th Floor
       San Francisco, CA 94111              Los Angeles, CA 90017
     5 Telephone: (415) 875-6600            Telephone: (213) 443-3000
       Facsimile: (415) 875-6700            Facsimile: (213) 443-3100
     6
     7 Brian Biddinger (Bar No. 224604)
       brianbiddinger@quinnemanuel.com
     8 51 Madison Avenue, 22nd Floor
       New York, NY 10010
     9 Telephone: (212) 849-7000
    10 Facsimile: (212) 849-7100
    11 Attorneys  for Defendant
       Netflix, Inc.
    12
    13                   IN THE UNITED STATES DISTRICT COURT
    14              FOR THE CENTRAL DISTRICT OF CALIFORNIA
    15
    16    DIVX, LLC, a Delaware limited
          liability company,
    17
                          Plaintiff,               Case No. 2:19-cv-1602-PSG-DFM
    18
    19              v.                              DEFENDANT NETFLIX, INC.’S
                                                    REPLY IN SUPPORT OF ITS
    20    NETFLIX, INC., a Delaware                 MOTION TO STAY PENDING
          corporation,                              INTER PARTES REVIEW
    21
                          Defendant.                Date: May 18, 2020
    22                                              Time: 1:30 p.m.
    23                                              Judge: Hon. Philip S. Gutierrez
                                                    Room: 6A
    24
                                                    Complaint Filed: March 5, 2019
    25                                              First Amended Filed: Aug. 21, 2019
    26
    27
    28
                                                                   Case No. 2:19-cv-1602-PSG-DFM
                             REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 2 of 18 Page ID #:2608




     1                                       TABLE OF CONTENTS
                                                                                                                    Page
     2
     3 I.     INTRODUCTION ............................................................................................. 1
     4 II.    A STAY SHOULD BE GRANTED IN THIS CASE....................................... 2
     5        A.      The Stage of Litigation Favors a Stay..................................................... 2
     6        B.      Resolution of the IPRs Will Simplify the District Court Case ............... 4
     7        C.      Speculative Prejudice Does Not Weigh Against a Stay ......................... 7
     8 III.   DIVX’S “LEGAL STANDARD” IS WRONG ................................................ 9
     9        A.      Landis Is Inapplicable ............................................................................. 9
    10        B.      There is a Liberal Policy in Favor of Granting a Stay .......................... 10
    11        C.      The Legislative History Does Not Weigh Against a Stay .................... 12
    12 IV.    CONCLUSION ............................................................................................... 12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                                               -i-         Case No. 2:19-cv-1602-PSG-DFM
                                     REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 3 of 18 Page ID #:2609




     1                                        TABLE OF AUTHORITIES
     2                                                                                                                Page
     3                                                         Cases
     4 AIIRAM LLC v. KB Home,
            No. 19-cv-00269, 2019 U.S. Dist. LEXIS 136744
     5      (N.D. Cal. Aug. 12, 2019) ............................................................................... 10
     6 Arris Enters. LLC v. Sony Corp.,
             17-cv-02669, 2017 U.S. Dist. LEXIS 121035 (N.D. Cal. Aug. 1, 2017) ......... 9
     7
       ASCII Corp. v. STD Entertainment USA, Inc.,
     8       844 F. Supp. 1378 (N.D. Cal. 1994) ............................................................... 11
     9 Asetek Holdings, Inc. v. Cooler Master Co.,
             No. 13-CV-00457, 2014 U.S. Dist. LEXIS 47134
    10       (N.D. Cal. Apr. 3, 2014) .................................................................................... 3
    11 Big Baboon, Inc. v. Dell, Inc.,
             No. 09-cv-01198, 2011 U.S. Dist. LEXIS 155536
    12       (C.D. Cal. Feb. 8, 2011) .................................................................................... 2
    13 Broadband iTV, Inc. v. Hawaiian Telcom, Inc.,
            No. CV 13-00504 ACK-RLP, 2015 WL 12776595
    14      (D. Haw. Feb. 17, 2015) .................................................................................... 8
    15 Cannarella v. Volvo Car United States LLC,
            No. 16-cv-6195, 2016 U.S. Dist. LEXIS 192449
    16      (C.D. Cal. Dec. 12, 2016) .......................................................................... 10, 12
    17 Carl Zeiss A.G. v. Nikon Corp.,
             No. 2:17-cv-07083, 2018 U.S. Dist. LEXIS 181120
    18       (C.D. Cal. Oct. 16, 2018) .................................................................................. 4
    19 Celgene Corp. v. Peter,
             931 F.3d 1342 (Fed. Cir. 2019) ......................................................................... 9
    20
       Chrimar Sys., Inc. v. Adtran, Inc.,
    21       No. 6:15-cv-618, 2016 U.S. Dist. LEXIS 188613
             (E.D. Tex. Dec. 9, 2016) ................................................................................... 4
    22
       DMF, Inc. v. AMP Plus, Inc.,
    23       No. 2:18-cv-07090, 2019 U.S. Dist. LEXIS 118464
             (C.D. Cal. July 12, 2019)................................................................................... 5
    24
       Drink Tanks Corp. v. Growlerwerks, Inc.,
    25       No. 3:16-cv-410, 2016 U.S. Dist. LEXIS 91964
             (D. Or. July 15, 2016)........................................................................................ 5
    26
       Garmin Int’l, Inc. v. Cuozzo Speed Techs. LLC,
    27       IPR2012-00001, Paper No. 26 (PTAB Mar. 5, 2013)....................................... 8
    28

                                                                  -ii-         Case No. 2:19-cv-1602-PSG-DFM
                                         REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 4 of 18 Page ID #:2610




     1 Henny Penny Corp. v. Frymaster LLC,
            938 F.3d 1324 (Fed. Cir. 2019) ......................................................................... 9
     2
       Hologram USA, Inc. v. Ventana, 3D, LLC,
     3      No. 14-cv-09489, 2015 U.S. Dist. LEXIS 184440
            (C.D. Cal. Dec. 7, 2015) .................................................................................... 3
     4
       Kahn v. General Motors Corp.,
     5      889 F.2d 1078 (Fed. Cir. 1989) ....................................................................... 11
     6 Kerotest Mfg. Co. v. C-O-Two Fire Equip. Co.,
             342 U.S. 180 (1952) ........................................................................................ 11
     7
       Landis v. North American Co.,
     8       299 U.S. 248 (1936) ........................................................................................ 10
     9 Limestone v. Micron Technology,
             No. 15-cv-0278, 2016 U.S. Dist. LEXIS 90742
    10       (C.D. Cal. Jan. 12, 2016) ....................................................................... 2, 5, 7, 8
    11 Lodge Manufacturing v. Gibson Overseas Inc.,
             No. 18-cv-8085 PSG (GJSx) (Sept. 24, 2019) .............................................. 2, 8
    12
       Pi-Net Int’l, Inc. v. Hertz. Corp.,
    13       No. CVC 12-10012 PSG JEMX, 2013 WL 7158011
             (C.D. Cal, June 5, 2013) ...................................................................... 2, 3, 4, 10
    14
       Pi-Net, Int’l Inc. v. Focus Bus. Bank,
    15       No. 12-cv-4958, 2013 U.S. Dist. LEXIS,
             (N.D. Cal. Aug. 16, 2013) ................................................................................ 7
    16
       Polaris Innovations Ltd. v. Kingston Tech. Co., Inc.,
    17       No. SA16-cv-00300, 2016 U.S. Dist. LEXIS 186795
             (C.D. Cal. Nov. 17, 2016) ................................................................................. 5
    18
       Polymer Tech. Sys. v. Jant Pharmacal Corp.,
    19       No. 15-cv-02585, 2015 U.S. Dist. LEXIS 179423
             (C.D. Cal. Aug. 20, 2015) ................................................................................. 9
    20
       Roche Molecular Sys. v. Cepheid,
    21       No. 14-cv-3228, 2015 U.S. Dist. LEXIS 2109 (N.D. Cal. Jan. 7, 2015) .......... 6
    22 Rovi Guides, Inc. v. Comcast Corp.,
             No. 19-cv-00275, 2019 U.S. Dist. LEXIS 216706
    23       (C.D. Cal. Aug. 19, 2019) ............................................................................... 10
    24 Semiconductor Energy Lab. Co. v. Chimei Innolux Corp.,
            No. SACV 12-21-JST (JPRx), 2012 U.S. Dist. LEXIS 186322
    25      (C.D. Cal. Dec. 19, 2012) .......................................................................... 11, 12
    26 Slip Track Sys., Inc. v. Metal Lite, Inc.,
              159 F.3d 1337 (Fed. Cir. 1998) ......................................................................... 9
    27
    28

                                                                 -iii-        Case No. 2:19-cv-1602-PSG-DFM
                                        REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 5 of 18 Page ID #:2611




     1 Star Envirotech v. Redline Detection, LLC,
             No. SACV 12-01861 JGB (MLGx), 2013 U.S. Dist. LEXIS 58866
     2       (C.D. Cal. Apr. 3, 2013) .................................................................................. 11
     3 TeleSign Corp. v. Twilio, Inc.,
             No. 15-cv-3240 PSG (SSX), 2017 U.S. Dist. LEXIS 229022
     4       (C.D. Cal. May 16, 2017) .................................................................................. 2
     5 Tire Hanger Corp. v. My Car Guy Concierge Servs.,
             No. 5:14-cv-00549, U.S. Dist. LEXIS 24256 (C.D. Cal. Feb. 27, 2015) ....... 11
     6
       Uniloc 2017 LLC v. Microsoft Corp.,
     7       No. 18-cv-02053, 2019 U.S. Dist. LEXIS 221950
             (C.D. Cal. Aug. 9, 2019) ................................................................................. 10
     8
       Universal Elecs., Inc. v. Universal Remote Control, Inc.,
     9       943 F. Supp. 2d 1028 (C.D. Cal. 2013).................................................... passim
    10 VirtualAgility Inc. v. Salesforce.com, Inc.,
             759 F.3d 1307 (Fed. Cir. 2014) ......................................................................... 2
    11
       Wonderland Nursery Goods Co., Ltd. v. Baby Trend, Inc.,
    12       No. 14-cv-001153, 2015 WL 1809309 (C.D. Cal. Apr. 20, 2015) ........... 3, 6, 8
    13                                                          Statutes
    14 35 U.S.C. § 315(a) ..................................................................................................... 12
    15 35 U.S.C. § 315(b) ..................................................................................................... 12
    16                                                  Other Authorities
    17 77 F. Reg. 48680-01 (Aug. 14, 2012) .......................................................................... 1
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                                                    -iv-         Case No. 2:19-cv-1602-PSG-DFM
                                           REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 6 of 18 Page ID #:2612




     1 I.     INTRODUCTION
     2        Nothing in DivX’s Opposition (“Opp.”) warrants denying Netflix’s request for
     3 a stay pending the outcome of Netflix’s IPRs. Netflix’s Motion shows that, under the
     4 proper three-factor test, a stay should be granted, and DivX does not rebut Netflix’s
     5 analysis. Instead, DivX attempts to distract from this inevitable conclusion by
     6 contriving a different test while citing inapplicable cases and standards. DivX also
     7 complains about the inherent nature of stays and the IPR processes, but Congress
     8 intended for IPRs “to create a timely, cost-effective alternative to litigation” and set
     9 forth “a more efficient and streamlined patent system that [would] improve patent
    10 quality and limit unnecessary and counterproductive litigation costs.” 77 F. Reg.
    11 48680-01 (Aug. 14, 2012). Stays are extremely common, and DivX’s critiques of the
    12 IPR process itself has no bearing on deciding whether to stay this case.
    13        Further, a stay would avoid the need for costly and unnecessary litigation.
    14 DivX does not dispute that the vast majority of the work in this case lies ahead:
    15 Depositions, claim construction, and expert discovery have all yet to commence;
    16 dispositive motions are still many months out; and trial is set for a year from now.
    17 And the COVID-19 pandemic has substantially hindered the ability to collect and
    18 review source code and documents, which is critical discovery for both sides to
    19 meaningfully proceed with immediate next steps in the case.
    20        DivX will not be prejudiced by a stay as the parties are not competitors. The
    21 Opposition offers only vague and conclusory speculation of possible prejudice linked
    22 to unidentified, potential licensees without identifying any actual prejudice that may
    23 result from a stay. Even if those arguments bore any merit—and they do not—DivX
    24 fails to show why money damages would be insufficient compensation for its entirely
    25 hypothetical commercial harm. Accordingly, Netflix requests that this Court stay this
    26 litigation until the IPR proceedings are resolved.
    27
    28

                                                  -1-                Case No. 2:19-cv-1602-PSG-DFM
                               REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 7 of 18 Page ID #:2613




     1 II.       A STAY SHOULD BE GRANTED IN THIS CASE
     2           A.    The Stage of Litigation Favors a Stay
     3           DivX does not—and cannot—rebut any of the cases or facts cited by Netflix
     4 that show that the “stage of the litigation” factor weighs in favor of a stay. As
     5 explained in Netflix’s Motion (Mot. at 6-8), discovery as of the date the Motion was
     6 filed was and still is in its early stages.1 See Universal Elecs., Inc. v. Universal Remote
     7 Control, Inc., 943 F. Supp. 2d 1028, 1031 (C.D. Cal. 2013) (“When cases are in the
     8 initial stages of litigation and there has been little or no discovery, policy favors
     9 granting a motion to stay pending IPR.”); see also Limestone v. Micron Tech., No.
    10 15-cv-0278, 2016 U.S. Dist. LEXIS 90742, at *2 (C.D. Cal. Jan. 12, 2016) (that a
    11 case was still “in [its] infancy” favored stay); Big Baboon, Inc. v. Dell, Inc., No. 09-
    12 cv-01198, 2011 U.S. Dist. LEXIS 155536, at *12-13 (C.D. Cal. Feb. 8, 2011) (stay
    13 appropriate during discovery when no claim construction had occurred and no trial
    14 date was set).
    15           Rather than address the “stage of the litigation,” DivX instead argues that
    16 “efficiency does not weigh in favor of a stay.” Opp. at 12. But DivX does not deny
    17 that the vast majority of the work required to try this case has yet to happen (Opp. at
    18 13-14), which weighs in favor of a stay. Pi-Net Int’l, Inc. v. Hertz. Corp., No. CVC
    19 12-10012 PSG JEMX, 2013 WL 7158011, at *2 (C.D. Cal, June 5, 2013) (granting
    20 stay where “there [was] more work ahead of the parties and the Court than behind the
    21 parties and the Court.”). Instead, DivX incorrectly contends that a stay will “derail”
    22 any efforts to streamline the district court case to conserve resources. Opp. at 1, 13.
    23
    24       1
                “‘[D]istrict courts have adopted the date of the filing of the motion to stay’ as
         the ‘proper time to measure the stage of litigation.’” Lodge Mfg. v. Gibson Overseas
    25   Inc., No. 18-cv-8085 PSG (GJSx) (Sept. 24, 2019) (citing VirtualAgility Inc. v.
    26   Salesforce.com, Inc., 759 F.3d 1307, 1316 (Fed. Cir. 2014) (collecting cases));
         TeleSign Corp. v. Twilio, Inc., No. 15-cv-3240 PSG (SSX), 2017 U.S. Dist. LEXIS
    27   229022, at *8 (C.D. Cal. May 16, 2017) (same). As such, the Court should disregard
         DivX’s superfluous discussion about developments that have occurred after March 13
    28   or references to future events. See Opp. at 14.
                                                    -2-               Case No. 2:19-cv-1602-PSG-DFM
                                REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 8 of 18 Page ID #:2614




     1 The purpose of staying the case is to allow the IPRs to proceed, which will streamline
     2 the case should it proceed thereafter. Indeed, staying the case pending the IPRs will
     3 avoid wasting party and judicial resource on issues that the IPRs may resolve, such as
     4 the validity of the asserted claims. Any additional efforts to conserve resources in
     5 the district court can still be resumed after a stay following the conclusion of the IPR
     6 proceedings. Thus, DivX’s argument that “Netflix’s invalidity challenges to DivX’s
     7 patents will resolve in this case, under the established schedule, well before they
     8 resolve in IPR” (Opp. at 3) misses the point. See Wonderland Nursery Co. v. Baby
     9 Trend, Inc., No. 14-cv-01153, 2015 WL 1809309, at *3 (C.D. Cal. Apr. 20, 2015)
    10 (quoting Universal Elecs., Inc., 943 F. Supp. 2d at 1031) (“The Court’s expenditure
    11 of resources is an important factor in evaluating the stage of the proceedings.”). In
    12 order to “resolve” the parties’ disputes regarding invalidity, the Court will have to
    13 invest substantial time to construe the claims, decide motions for summary judgment
    14 and Daubert motions, and try this case, all without the “benefit [of] the expertise of
    15 the [PTAB] with regard to assessing the prior art” and the scope of the challenged
    16 claims. See Pi-Net, 2013 WL 7158011, at *3.
    17         DivX also argues that “many courts deny stays where, as here, ‘a trial date has
    18 been set.’” Opp. at 12. But the cases cited by DivX do not support its position and
    19 are distinguishable. For example, in Universal Elecs., the Court did not discuss the
    20 trial date being set as the basis to deny a stay but instead focused on the fact that the
    21 entire claim construction process had concluded. Universal Elecs., 943 F. Supp. 2d
    22 at 1031-32. Here, the claim construction process has not even begun. Similarly, when
    23 the stay was denied in Asetek, claim construction was complete, fact discovery was
    24 nearly complete, and the parties were direct competitors with allegations of
    25 undercutting prices. Asetek Holdings, Inc. v. Cooler Master Co., No. 13-CV-00457,
    26 2014 U.S. Dist. LEXIS 47134, at *13, 17-19 (N.D. Cal. Apr. 3, 2014). Finally, in
    27 Hologram USA, the IPR would not even be instituted until after the trial was over.
    28 Hologram USA, Inc. v. Ventana, 3D, LLC, No. 14-cv-09489, 2015 U.S. Dist. LEXIS

                                                   -3-                Case No. 2:19-cv-1602-PSG-DFM
                                REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 9 of 18 Page ID #:2615




     1 184440, at *5 (C.D. Cal. Dec. 7, 2015). Here, one IPR has already been instituted,
     2 and the others will have decisions by October at the latest, while trial is scheduled for
     3 the end of April 2021. Although a trial date has been set, it is not for a year, and that
     4 is just a portion of one factor to consider—it is not dispositive.
     5         DivX also attempts to confuse the early stage of this litigation with the date of
     6 when the litigation could potentially conclude. The former controls. DivX alleges
     7 that “courts deny requests for stays where trial is set to occur before a final decision
     8 at the PTAB.” Opp. at 12. The cases cited by DivX, however, do not support this
     9 position either as “significant” progression had already taken place in those cases, and
    10 the stay motions were filed right before trial. See Chrimar Sys., Inc. v. Adtran, Inc.,
    11 No. 6:15-cv-618, 2016 U.S. Dist. LEXIS 188613, at *18 (E.D. Tex. Dec. 9, 2016)
    12 (motion for a stay filed just one month before trial); Carl Zeiss A.G. v. Nikon Corp.,
    13 No. 2:17-cv-07083, 2018 U.S. Dist. LEXIS 181120, at *6 (C.D. Cal. Oct. 16, 2018)
    14 (only remaining matters were jury instructions and trial). Here, trial is not for another
    15 year, and the case has not progressed nearly as far along as in DivX’s cited cases.
    16 This weighs in favor of a stay. See Pi-Net, 2013 WL 7158011, at *3.
    17         Further, DivX’s attempt to use the current COVID-19 pandemic as a reason for
    18 proceeding with the case on the current schedule is perplexing. Opp. at 14-15. Netflix
    19 has repeatedly asked DivX to agree to move case deadlines in light of the current
    20 shelter-in-place orders in California that have been effective since mid-March.
    21 Holmes Decl. ¶ 3, Ex. A. Netflix has explained to DivX on multiple occasions that
    22 even its own employees, experts, and counsel cannot access its premises or source
    23 code, let alone find a safe, secure, and legal way for DivX’s counsel and experts to do
    24 so. Holmes Decl. ¶ 4, Ex. B at 4-5. If anything, that the COVID-19 pandemic has
    25 considerably impeded the parties’ ability to proceed strongly favors a stay.
    26         B.    Resolution of the IPRs Will Simplify the District Court Case
    27         DivX acknowledges that more than two-thirds of the claims still asserted in this
    28 case may be eliminated completely as a result of the IPR proceedings, and that the

                                                   -4-                Case No. 2:19-cv-1602-PSG-DFM
                                REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 10 of 18 Page ID
                                 #:2616



  1 average institution rate at the PTAB for IPRs is 65.5%. Opp. at 1, 3.
  2         But DivX contends a stay is not warranted because the IPRs do not cover all of
  3 the asserted claims. Opp. at 3, 15. However, “it is well-established that the IPR
  4 proceedings need not resolve every single asserted claim.” Limestone, 2016 U.S. Dist.
  5 LEXIS 90742, at *13 (internal citations omitted) (finding simplification where less
  6 than half of the asserted claims were subject to IPRs). As in Limestone, here, DivX
  7 “conflates simplification of the issues with total resolution of the case, which is not a
  8 factor considered by the court when addressing a motion to stay.” Id. at *14.
  9         DivX also argues a stay should be denied because not all of the IPR petitions
 10 are currently instituted. Opp. at 15. Yet DivX fails to rebut any of the cases cited by
 11 Netflix showing that “courts often stay proceedings before the PTAB determines
 12 whether to institute inter partes review given a relatively short delay until those
 13 decisions are issued, yet a considerable potential to save judicial and party resources
 14 during that interim period” (Mot. at 5-6) and that “[e]ven when IPR petitions have not
 15 yet been instituted by the PTAB, courts in this District have adopted the majority
 16 position that the simplification factor may still weigh in favor of a stay.” Mot. at 9
 17 (internal quotation omitted). Moreover, in each case DivX relies on, none of the IPR
 18 proceedings had been instituted at the time the stay was requested. See DMF, Inc. v.
 19 AMP Plus, Inc., No. 2:18-cv-07090, 2019 U.S. Dist. LEXIS 118464, at *1-2 (C.D.
 20 Cal. July 12, 2019) (“[T]he PTAB has not yet decided whether to institute a
 21 proceeding . . . .”); Polaris Innovations Ltd. v. Kingston Tech. Co., Inc., No. SA16-
 22 cv-00300, 2016 U.S. Dist. LEXIS 186795, at *3 (C.D. Cal. Nov. 17, 2016) (same);
 23 Drink Tanks Corp. v. Growlerwerks, Inc., No. 3:16-cv-410, 2016 U.S. Dist. LEXIS
 24 91964, at *10 (D. Or. July 15, 2016) (same). That is not true here. The first IPR was
 25 instituted on February 10, 2020, and we will soon learn if others will be instituted too.
 26         Plus, “courts routinely grant stays based on the filing of an IPR petition because
 27 the high probability that the request will be granted and potential benefits of IPR
 28 outweigh the relatively modest delay resulting from the stay if the petition for IPR is

                                                -5-                Case No. 2:19-cv-1602-PSG-DFM
                             REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 11 of 18 Page ID
                                 #:2617



  1 denied.” Roche Molecular Sys. v. Cepheid, No. 14-cv-3228, 2015 U.S. Dist. LEXIS
  2 2109, at *8 (N.D. Cal. Jan. 7, 2015) (internal citations omitted)). Indeed, DivX
  3 concedes that Netflix’s remaining petitions will receive institution decisions by this
  4 fall. Opp. at 1. This delay of a few months is outweighed by the strong likelihood
  5 that the IPRs will significantly simplify the district court case. Seven of eight asserted
  6 patents and over two-thirds of all asserted claims have been challenged in the IPRs.
  7 Over half of the asserted patents could be out of the district court case completely.
  8 Therefore, as stated in Universal Elecs., “[i]f the PTO grants inter partes review, the
  9 issues would likely be simplified, either through invalidation of claims or by
 10 narrowing Defendant’s defenses through estoppel. This factor weighs in favor of a
 11 stay.” 943 F. Supp. 2d at 1033. On the other hand, refusing a stay “incurs the risk
 12 that developments in the IPR proceedings . . . will necessitate reconsideration of the
 13 Court’s claim construction order” after the claims have already been construed.
 14 Wonderland Nursery Goods Co., 2015 WL 1809309, at *3. Notably, DivX does not
 15 rebut any cases cited by Netflix showing that “the risk of delay . . . is minimal relative
 16 to the risk of unnecessary expenditure of resources.” Id.; Mot. at 8-10.
 17          Instead, DivX argues that, if a stay is granted, “the parties and Court will then
 18 need to sort out the effects of the PTAB’s decisions, establish a new case schedule,
 19 and take additional discovery to address the time that elapses during a stay.” But this
 20 would be the case for any stay pending an IPR proceeding, and the amount of effort
 21 it would take to create a new schedule following a stay pales in comparison to the
 22 time and effort saved by not litigating invalid claims representing two-thirds of the
 23 case. And because so little discovery has taken place in this case, there is little chance,
 24 if any, that duplicative discovery efforts would be needed at the end of the stay. 2
 25          DivX expresses concern that “the accused infringer [may] raise different
 26 invalidity attacks on the patents in the PTAB and in Court.” Opp. at 18. But even if
 27
         2
          Plus, creating a new case schedule and potentially taking additional discovery
 28 are not factors that a court considers in deciding whether to stay a case pending IPRs.

                                                 -6-                Case No. 2:19-cv-1602-PSG-DFM
                              REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 12 of 18 Page ID
                                 #:2618



  1 the IPRs and this case were to proceed in parallel, DivX could face different invalidity
  2 arguments in each forum. On the other hand, if the IPR proceeds while this is stayed,
  3 the invalidity issues in this case will be simplified. Obviously, if the claims are
  4 invalidated in IPR, those claims will not be litigated here. And if the claims are not
  5 invalidated during the IPR and after a Final Written Decision, Netflix will be estopped
  6 from making certain arguments in litigation. Therefore, simplification of the case
  7 weighs strongly in favor of a stay.
  8        In addition, the district court case and the IPRs proceeding in parallel could
  9 actually complicate the issues. Even if Netflix were to allege the same invalidity
 10 arguments in each forum, the Court and the PTAB could adopt different claim
 11 mappings, scope of the prior art, and invalidity conclusions. But at this stage of the
 12 case, the Court has not yet decided any of the issues the PTAB will consider when
 13 evaluating Netflix’s petitions. As a result, litigating those same issues in this Court
 14 while the PTAB considers them in parallel would duplicate effort and waste judicial
 15 resources. This is yet another reason to stay this case pending resolution of the IPRs.
 16        C.     Speculative Prejudice Does Not Weigh Against a Stay
 17        Contrary to DivX’s assertion (Opp. at 19), “mere delay” in a patent owner’s
 18 enforcement of its rights “does not establish undue prejudice.” Universal Elecs., 943
 19 F. Supp. 2d at 1033. In fact, courts recognize “[p]rotracted delay is always a risk
 20 inherent in granting a stay” but still maintain that “[t]he general prejudice of having
 21 to wait for resolution is not a persuasive reason to deny the motion for stay.”
 22 Limestone, 2016 U.S. Dist. LEXIS, at *16 (internal quotations omitted)).
 23        DivX admits that any potential damage that it alleges it may face based on its
 24 licensees is entirely speculative. Opp. at 20 (delay “may incentivize” licensees to
 25 “wait and see” before renewing its license). Postulating about future damage does
 26 not provide a basis for finding prejudice that weighs against a stay. See Pi-Net, Int’l
 27 Inc. v. Focus Bus. Bank, No. 12-cv-4958, 2013 U.S. Dist. LEXIS, at *16 (N.D. Cal.
 28 Aug. 16, 2013) (“[Plaintiff] has failed to point to any specific prejudice from a delay

                                               -7-                Case No. 2:19-cv-1602-PSG-DFM
                            REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 13 of 18 Page ID
                                 #:2619



  1 that is more than speculative.”). Importantly, DivX does not dispute that the parties
  2 are not competitors; so “to the extent that a stay would prolong the period of potential
  3 injury to [DivX’s] commercial interests, such injury can be accurately compensated
  4 through damages.” Broadband iTV, Inc. v. Hawaiian Telcom, Inc., No. CV 13-00504
  5 ACK-RLP, 2015 WL 12776595, *7 (D. Haw. Feb. 17, 2015); see also Lodge Mfg.,
  6 slip op. at 8 (rejecting prejudice argument based on loss in market share and revenue).
  7          It also is not relevant that DivX’s former licensees may be infringing on certain
  8 of DivX’s unidentified, alleged intellectual property rights. Opp. at 20. Nothing in
  9 DivX’s Opposition connects any of its licenses to any of the asserted patents, let alone
 10 to this litigation or Netflix’s requested stay. See Limestone, 2016 U.S. Dist. LEXIS
 11 90742, *16 (rejecting prejudice argument). Even if DivX had tied its alleged harm to
 12 this case—which it has not—DivX fails to show that monetary damages would be
 13 inadequate to address any hypothetical commercial harm.                 Nothing supports
 14 Plaintiff’s prejudice argument beyond mere “ipse dixit.” Wonderland Nursery Goods,
 15 2015 WL 1809309, at *3.
 16          Moreover, the Court should disregard DivX’s apparent disgruntlement with the
 17 fairness of PTAB’s processes as it is entirely irrelevant to the determination of
 18 whether to grant a stay. Similarly, DivX speculates that different discovery standards
 19 in each forum could somehow lead to prejudice in trying to prove non-obviousness.3
 20 That too is unsupported. The sole case DivX relies on relates to defending the priority
 21 of an invention in an IPR, not raising objective considerations of non-obviousness.
 22
         3
 23          As support for its position, DivX cites a case where a motion for additional
      discovery was denied by the PTAB. Garmin Int’l, Inc. v. Cuozzo Speed Techs. LLC,
 24   IPR2012-00001, Paper No. 26, at 6-7 (PTAB Mar. 5, 2013). But the fact that the
      PTAB may not allow evidentiary fishing expeditions during its proceedings is not a
 25   reason to deny a stay here. In Garmin Int’l, for example, the complex accused devices
 26   had many features, and there was no evidence that the claimed features were the
      reason for the devices’ success. Thus, the PTAB held that the requested sales and
 27   pricing information would not have been helpful to the patent owner’s case. Id. In
      any case, the PTAB has the ability and authority to permit or deny the type of
 28   discovery DivX purports to need.
                                                 -8-                Case No. 2:19-cv-1602-PSG-DFM
                              REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 14 of 18 Page ID
                                 #:2620



  1 See Slip Track Sys., Inc. v. Metal Lite, Inc., 159 F.3d 1337, 1338-40 (Fed. Cir. 1998).
  2 Further, contrary to DivX’s arguments that it may be precluded “from fully
  3 discovering and litigating objective considerations of non-obviousness” at the PTAB
  4 and that “[o]nly this Court . . . can provide the most fulsome vetting of [the parties’]
  5 disputes relating to validity” (Opp. at 20-21), the PTAB regularly and thoroughly
  6 considers obviousness issues, including evidence of objective considerations of non-
  7 obviousness. See, e.g., Henny Penny Corp. v. Frymaster LLC, 938 F.3d 1324, 1334
  8 (Fed. Cir. 2019); Celgene Corp. v. Peter, 931 F.3d 1342, 1352 (Fed. Cir. 2019).
  9         Because there is no undue prejudice to DivX, Netflix need not show hardship.
 10 See, e.g., Polymer Tech. Sys. v. Jant Pharmacal Corp., No. 15-cv-02585, 2015 U.S.
 11 Dist. LEXIS 179423, at *7-8 (C.D. Cal. Aug. 20, 2015). Even if it did, overlapping
 12 discovery between the district court and the IPRs is an unnecessary and significant
 13 hardship that weighs in favor of a stay. Arris Enters. LLC v. Sony Corp., 17-cv-02669,
 14 2017 U.S. Dist. LEXIS 121035, at *6-11 (N.D. Cal. Aug. 1, 2017).
 15 III.    DIVX’S “LEGAL STANDARD” IS WRONG
 16         Setting aside the factors applicable to whether a stay should be granted, DivX
 17 makes several other irrelevant and erroneous arguments, which the Court should
 18 disregard. First, DivX fails to address the correct three-factor test for determining
 19 whether to grant a stay pending an IPR and instead attempts to create a new test based
 20 on cases and arguments wholly unrelated to staying a district court case pending an
 21 IPR or otherwise not analogous to this case. Second, DivX incorrectly alleges that
 22 there is “no liberal policy” in favor of granting a stay, which is contrary to the law.
 23 Finally, DivX misconstrues legislative history of the America Invents Act. These
 24 inapplicable arguments do not change the fact that a stay is appropriate in this case.
 25         A.    Landis Is Inapplicable
 26         There can be no legitimate dispute that the three factors set forth in Universal
 27 Elecs., together with the totality of the circumstances, govern the stay analysis here.
 28 Mot. at 5. Rather than address that legal framework, DivX dodges it and instead relies

                                                -9-                Case No. 2:19-cv-1602-PSG-DFM
                             REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 15 of 18 Page ID
                                 #:2621



  1 on an irrelevant case from more than 80 years ago, Landis v. North American Co.,
  2 299 U.S. 248 (1936) to argue that a stay is not warranted. But Landis dealt with
  3 whether to stay one lawsuit while another lawsuit was being decided and is
  4 inapplicable. Id. It had nothing to do with IPRs at the PTO, which were only
  5 introduced in 2012, or even staying a district court case while an administrative body
  6 determines the plaintiff’s rights. See, e.g., Rovi Guides, Inc. v. Comcast Corp., No.
  7 19-cv-00275, 2019 U.S. Dist. LEXIS 216706, at *2 (C.D. Cal. Aug. 19, 2019)
  8 (granting motion to stay and citing Landis for the power to stay a case, but citing
  9 Universal Elecs. as the controlling case “[i]n determining whether a stay is
 10 appropriate pending PTO proceedings”); Uniloc 2017 LLC v. Microsoft Corp., No.
 11 18-cv-02053, 2019 U.S. Dist. LEXIS 221950, at *6-7 (C.D. Cal. Aug. 9, 2019)
 12 (same). Landis is not even controlling when deciding whether to stay parallel state
 13 and federal court proceedings, let alone when deciding to stay a federal court action
 14 pending the resolution of a PTO proceeding. See AIIRAM LLC v. KB Home, No. 19-
 15 cv-00269, 2019 U.S. Dist. LEXIS 136744, at *17-18 (N.D. Cal. Aug. 12, 2019)
 16 (holding that “the Landis analysis is inapplicable to the instant case”).
 17         B.     There is a Liberal Policy in Favor of Granting a Stay
 18         DivX argues that there is no “liberal policy” in favor of granting stays pending
 19 IPR proceedings, but the case law holds differently. Courts in this district and many
 20 others have repeatedly held that “[t]here is a liberal policy in favor of granting motions
 21 to stay proceedings pending the outcome of IPR, especially in cases that are still in
 22 the initial stages of litigation and where there has been little or no discovery.”
 23 Cannarella v. Volvo Car United States LLC, No. 16-cv-6195, 2016 U.S. Dist. LEXIS
 24 192449, at *9-10 (C.D. Cal. Dec. 12, 2016) (internal brackets and citations omitted);
 25 Pi-Net Int’l, Inc. v. Hertz. Corp., 2013 WL 7158011, at *2 (Gutierrez, J.). DivX fails
 26 to address these cases.
 27         DivX also erroneously contends that “[t]he ASCII case originating the ‘liberal
 28 policy’ proposition” does not apply to IPRs because it dealt with reexaminations

                                                 -10-               Case No. 2:19-cv-1602-PSG-DFM
                              REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 16 of 18 Page ID
                                 #:2622



  1 instead. See ASCII Corp. v. STD Entertainment USA, Inc., 844 F. Supp. 1378 (N.D.
  2 Cal. 1994). The “liberal policy in favor of granting motions to stay” established by
  3 ASCII equally applies to IPRs, as this District and numerous other courts have held.
  4 See, e.g., Star Envirotech v. Redline Detection, LLC, No. SACV 12-01861 JGB
  5 (MLGx), 2013 U.S. Dist. LEXIS 58866, at *7 (C.D. Cal. Apr. 3, 2013) (granting stay
  6 pending IPR in light of factors and “liberal policy of granting motion to stay litigation
  7 pending the outcome of PTO proceedings” and citing ASCII as authority);
  8 Semiconductor Energy Lab. Co. v. Chimei Innolux Corp., No. SACV 12-21-JST
  9 (JPRx), 2012 U.S. Dist. LEXIS 186322, at *11 (C.D. Cal. Dec. 19, 2012) (same); Tire
 10 Hanger Corp. v. My Car Guy Concierge Servs., No. 5:14-cv-00549, U.S. Dist. LEXIS
 11 24256, at *5, 9-10 (C.D. Cal. Feb. 27, 2015) (same)).4
 12          DivX also absurdly argues that federal courts follow an “opposite policy” that
 13 favors first-filed district court actions over IPR proceedings. Opp. at 9. The decades-
 14 old cases that DivX relies on—Kahn from 1989 and Kerotest from 1952—are
 15 inapplicable. Neither case dealt with a motion to stay a federal district court case
 16 pending resolution of PTO invalidity proceedings. Both cases instead addressed
 17 whether to stay one district court case in favor of another based on which case was
 18 filed first. See Kahn v. General Motors Corp., 889 F.2d 1078, 1081 (Fed. Cir. 1989)
 19 (vacating order staying plaintiff’s suit in favor of a suit that was filed later in time);
 20 Kerotest Mfg. Co. v. C-O-Two Fire Equip. Co., 342 U.S. 180. 186 (1952) (affirming
 21 reversal of decision to stay later filed lawsuit in favor of first filed lawsuit, where the
 22 petitioner could be joined as a defendant in the first action). The rules and policies
 23 for whether to stay an earlier-filed district court action as in Kahn and Kerotest do not
 24 apply here. IPR petitions are nearly always filed after a patentee has filed suit. See
 25      4
           This Court has noted that “[e]ffective September 16, 2012, the Leahy-Smith
 26 America Invents Act amended the inter partes reexamination process and renamed it
    the inter partes review process,” and thus applied the same test and standards for
 27 determining a stay pending an IPR that was previously used for stays pending
    reexamination. Semiconductor Energy Lab. Co. v. Chimei Innolux Corp., No. SACV
 28 12-21-JST, 2012 U.S. Dist. LEXIS 186322, at *3 n.1 (C.D. Cal. Dec. 19, 2012).

                                                 -11-               Case No. 2:19-cv-1602-PSG-DFM
                              REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 17 of 18 Page ID
                                 #:2623



  1 35 U.S.C. § 315(b) (allowing up to a year after a lawsuit has been filed to then file an
  2 IPR petition). In fact, in every case in this District located by Netflix where a stay
  3 pending IPR was granted, the IPR was filed after the plaintiff filed the district court
  4 case. See, e.g., supra Section III(B) (collecting cases). In the cases where a stay was
  5 not granted, none of the courts considered in the fact that the IPR was filed after the
  6 district court case.
  7         C.     The Legislative History Does Not Weigh Against a Stay
  8         DivX’s “legislative history” arguments are inapposite as well. Opp. at 10-11.
  9 The legislative history DivX relies on relates to a scenario where a party initiates two
 10 separate invalidity actions in two separate venues, which is not the situation here. Id.
 11 35 U.S.C. § 315(a)(1) prevents an IPR from being filed if a declaratory judgment
 12 action of invalidity was previously initiated by the same party, and 35 U.S.C. §
 13 315(a)(2) automatically stays a declaratory judgment action of invalidity if it is filed
 14 after an IPR that was filed by the same party. But Netflix did not “initiate invalidity
 15 declaratory judgment litigation.” Opp. at 11. DivX initiated the lawsuit, and Netflix
 16 responded to it, just as in the other cases in this District that have been stayed pending
 17 IPR. See, e.g., Semiconductor Energy, 2012 U.S. Dist. LEXIS 186322, at *1-3;
 18 Cannarella, 2016 U.S. Dist. LEXIS 192449, at *7-8.
 19         DivX further argues that the patent owner has “authority over whether to
 20 proceed in litigation” when an IPR is involved. Opp. at 11. There is no such policy
 21 or rule. The Court makes that decision. The only scenario when a patent owner may
 22 choose to forego an automatic stay is when a declaratory judgment action is filed
 23 against the patent owner after an IPR has already been filed for the same patents. But
 24 here, that is not what happened. DivX—not Netflix—initiated the lawsuit.
 25 IV.     CONCLUSION
 26         For at least the foregoing reasons and those set forth in Netflix’s Motion,
 27 Netflix respectfully requests that the Court stay this action pending the outcome of
 28 Netflix’s IPRs.

                                                -12-               Case No. 2:19-cv-1602-PSG-DFM
                             REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
Case 2:19-cv-01602-PSG-DFM Document 104 Filed 05/04/20 Page 18 of 18 Page ID
                                 #:2624



  1 DATED: May 4, 2020                     Respectfully submitted,
  2
                                           QUINN EMANUEL URQUHART &
  3                                        SULLIVAN, LLP
  4
                                      By       /s/ David Perlson
  5
                                             David Perlson (Bar No. 209502)
  6
                                             davidperlson@quinnemanuel.com
  7                                          Andrew Holmes (Bar No. 260475)
  8                                          drewholmes@quinnemanuel.com
                                             50 California Street, 22nd Floor
  9                                          San Francisco, CA 94111
 10                                          Telephone: (415) 875-6600
                                             Facsimile: (415) 875-6700
 11
 12                                          Brian Biddinger (Bar No. 224604)
                                             brianbiddinger@quinnemanuel.com
 13                                          51 Madison Avenue, 22nd Floor
 14                                          New York, NY 10010
                                             Telephone: (212) 849-7000
 15                                          Facsimile: (212) 849-7100
 16
                                             Lance Yang (Bar No. 260705)
 17                                          lanceyang@quinnemanuel.com
 18                                          Valerie Lozano (Bar No. 260020)
                                             valerielozano@quinnemanuel.com
 19                                          865 S. Figueroa St., 10th Floor
 20                                          Los Angeles, CA 90017
                                             Telephone: (213) 443-3000
 21                                          Facsimile: (213) 443-3100
 22
                                             Attorneys for Netflix, Inc.
 23
 24
 25
 26
 27
 28

                                             -13-               Case No. 2:19-cv-1602-PSG-DFM
                          REPLY IN SUPPORT OF MOTION TO STAY PENDING INTER PARTES REVIEW
